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 Attorneys for Plaintiff Pacira BioSciences, Inc.


                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY
 PACIRA BIOSCIENCES, INC.,

                                                    Case No 2: 21 Civ. 09264.
                              Plaintiff,


                  v.


 AMERICAN SOCIETY OF
 ANESTHESIOLOGISTS, INC., et al.,


                              Defendants.




                               CERTIFICATE OF SERVICE

         I, Kevin M. McDonough, hereby certify pursuant to 28 U.S.C.§ 1746 that:

         1.       I am a partner of the law firm Latham & Watkins LLP, 885 Third



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 Avenue, New York, New York 10022, counsel to Plaintiff Pacira BioSciences, Inc.

 in the above-captioned matter. I am admitted to the Bar of the State of New Jersey

 and of this Court.

       2.     On April 14, 2021, I caused to be filed a true and correct copy of the

 following documents submitted on behalf of Pacira BioSciences, Inc. with the

 Court via the CM/ECF system:

               Notice of Motion for Preliminary Injunction;

               Declaration of Sarah M. Gragert in Support of Motion for

                 Preliminary Injunction with attached exhibits;

               Proposed Order Granting Motion for Preliminary Injunction;

       3.     I further certify that I caused a true and correct copy of each of the

 aforementioned documents, and a Memorandum of Law in Support of Motion for

 Preliminary Injunction and additional exhibits filed under seal, to be served by

 hand-delivery upon:

                         American Society of Anesthesiologists
                                1061 American Lane
                               Schaumberg, IL 60173

                                   Dr. Evan Kharasch
                           Duke University School of Medicine
                             Department of Anesthesiology
                      Box 3094, 905 S. Lasalle, GSRB1 Room 20031
                                  Durham, NC 27710




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 Dated: April 14, 2021                          /s/ Kevin M. McDonough
 New York, New York                             Kevin M. McDonough



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